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               IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

MARCUS JOHNSON,                 )
                                )
      Plaintiff,                )
                                )
   v.                           )                   Case No. 2:20-cv-419-RAH-KFP
                                )
NEPTUNE TECHNOLOGY GROUP, INC., )
                                )
      Defendant.                )

                                        ORDER

      On September 3, 2020, the Magistrate Judge entered a Recommendation (Doc. 10)

to which no timely objections have been filed. After an independent review of the file and

upon consideration of the Recommendation, it is ORDERED that:

      1.     The Recommendation of the Magistrate Judge is ADOPTED.

      2.     The case is DISMISSED without prejudice for Plaintiff’s failure to prosecute

and comply with the orders of the Court.

      A separate Final Judgment will be entered.

      DONE, this 1st day of October, 2020.



                                         /s/ R. Austin Huffaker, Jr.
                                  R. AUSTIN HUFFAKER, JR.
                                  UNITED STATES DISTRICT JUDGE
